       Case 2:21-cv-00587-MIS-KRS Document 8 Filed 09/29/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

RODNEY LOFTON,

               Plaintiff,

v.                                                               No. 2:21-cv-587 SMV/KRS

TARGET LOGISTICS MANAGEMENT, LLC, et al.,

               Defendants.


                                 ORDER TO SHOW CAUSE

       THIS MATTER comes before the Court sua sponte. This case was removed to this

Court on June 25, 2021. (Doc. 1). To date, there is no indication on the docket that Defendant

Lawson has been served. Federal Rule of Civil Procedure 4(m) provides: “If a defendant is not

served within 90 days after the complaint is filed, the court—on motion or on its own after notice

to the plaintiff—must dismiss the action without prejudice against that defendant or order that

service be made within a specified time.”

       IT IS THEREFORE ORDERED that on or before October 13, 2021 Plaintiff shall

either effect service on Defendant Lawson or provide the Court with a written explanation

showing good cause why service has not been made. Failure to do so may result in dismissal of

this case without prejudice as to Defendant Lawson.

       IT IS SO ORDERED.



                                             ____________________________________
                                             KEVIN R. SWEAZEA
                                             UNITED STATES MAGISTRATE JUDGE
